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                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
       __________________________________________
                                                  )
       STATE OF TEXAS, STATE OF                   )
       LOUISIANA                                  )
                                                  )
                               Plaintiffs,        )
             v.                                   ) No. 6:21-cv-00016
                                                 )
       UNITED STATES OF AMERICA, et al.          )
                                                 )
                               Defendants.       )
       __________________________________________)

                              DEFENDANTS’ ADVISORY REGARDING
                   PROPOSED REDACTIONS ON CERTAIN POTENTIAL EXHIBITS
       The States’ proposed Exhibit FF is a series of emails involving Immigration and Customs

Enforcement employees and Texas Department of Criminal Justice employees discussing non-

party individuals, including noncitizens. To protect the privacy of the non-parties, Defendants

propose the redaction of any individual’s A-number, i.e., the unique immigration file identifier.

To protect ICE employees from harassment and to maintain their privacy, Defendants propose the

redaction of their phone numbers, physical addresses, and email addresses (other than the domain

name endings identifying them as ICE employees). Likewise, Defendants propose redacting their

names other than their initials such that “John Smith” would become “J----- S-----.” To the extent

Defendants use any similar documents in cross-examination, they would propose relying on the

same set of redactions.

       These proposed redactions help protect privacy and avoid unnecessary harassment while

still maintaining sufficient identifying information so as not to prejudice Plaintiffs. For example,

the non-party individuals’ names will still be identified. And there is nothing of import about the

name of a particular ICE employee, so long as their status as an ICE official is identified. By

retaining initials, witnesses and the parties will still be able to differentiate between different ICE

employees.


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        A long line of cases support the redaction of law enforcement officers’ personal identifying

information to protect them from harassment, annoyance, and/or threats. See Lesar v. U.S. Dep't

of Just., 636 F.2d 472, 487 (D.C. Cir. 1980) (“In their capacity as public officials FBI agents may

not have as great a claim to privacy as that afforded ordinarily to private citizens, but the agent by

virtue of his official status does not forgo altogether any privacy claim in matters related to official

business. As several courts have recognized, these agents have a legitimate interest in preserving

the secrecy of matters that conceivably could subject them to annoyance or harassment in either

their official or private lives.”); see also Woodard v. U.S. Marshal Serv., No. CV 18-1249 (RC),

2022 WL 296171, at *4 (D.D.C. Feb. 1, 2022) (quoting Lesar and agreeing that redaction of law

enforcement names, among other things, is generally upheld); Creer v. City of Vallejo, No.

214CV1428JAMDBPS, 2016 WL 5897748, at *1 (E.D. Cal. Oct. 11, 2016) (“Defendants shall

redact the names of any Vallejo Police Department Officers and replace those names with number

identifiers.”); Zhao v. City of New York, No. 07 CIV. 3636 LAK/MHD, 2007 WL 4205856, at *2

(S.D.N.Y. Nov. 21, 2007) (“Defendants may redact the names and other identifying information

of any non-party Police Department employees, but not those of the complainants.”). It is

appropriate to do so here.



Dated: February 15, 2022                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on February 15, 2022.


                                                   /s/ Adam D. Kirschner
                                                   ADAM D. KIRSCHNER




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